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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )      Case No. 1:13-cr-018-6
Grant Michael Grensteiner,                    )
                                              )
               Defendant.                     )


       On December 5, 2013, the court convened a hearing on the petition for action defendant’s

pretrial release conditions. Special Assistant United States Attorney Julie Lawyer appeared on the

Government’s behalf. Attorney Thomas Tuntland appeared on defendant’s behalf.

       For the reasons articulated on the record, the court QUASHES the arrest warrant issued for

defendant and releases defendant subject to his existing pretrial release conditions.

       IT IS SO ORDERED.

       Dated this 5th day of December, 2013.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
